Case 1:23-cv-01006-SEB-MKK Document 23 Filed 10/20/23 Page 1 of 12 PageID #: 121




                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                           INDIANAPOLIS DIVISION

 JOHN DOE,                                      )
                                                )
                           Plaintiff,           )
                                                )
                      v.                        )    No. 1:23-cv-01006-SEB-MKK
                                                )
 FIRST ADVANTAGE BACKGROUND                     )
 SERVICES CORP.,                                )
                                                )
                           Defendant.           )

                                         Order

       Plaintiff moves to have his identity protected while pursuing claims of

 alleged violations of the Fair Credit Reporting Act ("FCRA"), 15 U.S.C. §§ 1681, et

 seq., against Defendant First Advantage Background Services Corp, Dkt. [4].

 Plaintiff asks for either permission to proceed under the pseudonym "John Doe," or

 entry of a protective order to maintain Plaintiff's anonymity. For the reasons set

 forth below, Plaintiff's Motion is DENIED.

 I.    Background

       The following facts, assumed to be true for the purposes of the following

 analysis, are taken from Plaintiff's Complaint.

       In March 2023, Plaintiff applied and interviewed for a truck driving position

 with a company out of Indianapolis. (Dkt. 1 at 8-9, ¶¶43-50). During the interview,

 Plaintiff "disclosed his expunged criminal record" to his potential employer. (Id. at

 9, ¶49). The potential employer extended Plaintiff a job offer "conditioned upon

 Plaintiff passing a background check." (Id. at 9, ¶50). The background check was


                                            1
Case 1:23-cv-01006-SEB-MKK Document 23 Filed 10/20/23 Page 2 of 12 PageID #: 122




 prepared by Defendant and provided to Plaintiff's potential employer. (Id. at 9,

 ¶¶51-53). That same day, the employer notified Plaintiff that the job offer had been

 revoked "as a direct result of the criminal records reported by Defendant." (Id. at 12,

 ¶64). The report prepared by Defendant showed that Plaintiff had felony and

 misdemeanor convictions. (Id. at 9-10, ¶¶55-56). But neither conviction should have

 been on the report, according to Plaintiff. The felony conviction had been "expunged

 and should not have been reported," and the misdemeanor did not belong to

 Plaintiff, but rather to a third-party. (Id. at 10-11 (emphasis omitted)).

       Plaintiff contacted Defendant to "dispute[] the inaccurate record" it had

 reported to Plaintiff's potential employer. (Id. at 13, ¶¶71-72). In May 2023,

 Defendant "conceded its erroneous reporting of the misdemeanor record,"

 confirming "that the criminal record of another individual had since been removed."

 (Id. at 13, ¶73). "However, Defendant failed to remove the expunged criminal record

 from Plaintiff's consumer report." (Id. at 13, ¶74 (emphasis omitted)).

       Plaintiff filed this lawsuit on June 9, 2023, claiming Defendant violated the

 FCRA based on Defendant's alleged inaccurate reporting of the expunged felony

 conviction and a misdemeanor conviction that did not belong to him, 15 U.S.C. §

 1681e(b), and Defendant's inadequate reinvestigation of the expunged felony record,

 15 U.S.C. § 1681i. (Dkt. 1 at 15, 16).

       Simultaneous with his complaint, Plaintiff also filed the Motion now before

 the Court, asking for either permission to proceed under the pseudonym "John Doe,"

 or the entry of a protective order to maintain his anonymity. (Dkt. 4). According to



                                            2
Case 1:23-cv-01006-SEB-MKK Document 23 Filed 10/20/23 Page 3 of 12 PageID #: 123




 Plaintiff, his "interest in keeping his identity private to protect himself from further

 economic and reputational harm" amounts to an exceptional circumstance that

 justifies allowing him pseudonymity in federal court, or, alternatively, a protective

 order "requiring any reference to his true identity or identifying information be filed

 under seal." (Dkt. 5 at 3, 5). Defendant disagrees, arguing that this case does not

 present an "exceptional circumstance" warranting pseudonymous litigation or a

 protective order. (Dkt. 13). 1

 II.    Legal Standard

        "The people have a right to know who is using their courts." Doe v. Blue Cross

 & Blue Shield United of Wis., 112 F.3d 869, 872 (7th Cir. 1997). This principle is

 reflected by the Federal Rules of Civil Procedure. See Fed. R. Civ. P. 10(a) ("the

 complaint must name all the parties"); Fed. R. Civ. P. 17(a)(1) ("An action must be

 prosecuted in the name of the real party in interest."). The Seventh Circuit has

 canonized the presumption against pseudonymous litigation on the foundation that

 “[t]he public has an interest in knowing what the judicial system is doing, an

 interest frustrated when any part of litigation is conducted in secret.” Doe v. Smith,

 429 F.3d 706, 710 (7th Cir. 2005); see also Roe v. Dettelbach, 59 F.4th 255, 259 (7th

 Cir. 2023) ("'[t]he use of fictitious names is disfavored'") (quoting Blue Cross & Blue

 Shield United, 112 F.3d at 872); Blue Cross & Blue Shield United, 112 F.3d at 872



 1 Defendant filed an unopposed Motion for Leave to File an Amended Brief in Opposition to

 Plaintiff's Motion for Leave to Proceed Under a Pseudonym, Dkt. [17]. The amended response
 corrects a footnote in the initial response. Compare (Dkt. 13 at 3 n.1) with (Dkt. 17-1 at 1 n.1). The
 Court GRANTS Defendant's Motion, Dkt. [17], to the extent that the Court accepts it as Defendant's
 response. However, as that was the only change and rather than have Defendant refile, the Court
 will cite to Docket 13 in this Order.

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Case 1:23-cv-01006-SEB-MKK Document 23 Filed 10/20/23 Page 4 of 12 PageID #: 124




 ("Identifying the parties to the proceeding is an important dimension of

 publicness.").

       Nevertheless, "exceptional circumstances" can justify pseudonymity for

 litigants seeking relief in federal court. Blue Cross & Blue Shield United, 112 F.3d

 at 872; see also Doe v. City of Chicago, 360 F.3d 667, 669 (7th Cir. 2004) ("Not that

 concealment of a party's name is always improper."). "To proceed anonymously, a

 party must demonstrate 'exceptional circumstances' that outweigh both the public

 policy in favor of identified parties and the prejudice to the opposing party that

 would result from [concealing the party's identity]." Doe v. Vill. of Deerfield, 819

 F.3d 372, 377 (7th Cir. 2016) (citations omitted). This requires the movant to show

 that the harm he faces "exceeds the likely harm from concealment." Dettelbach, 59

 F.4th at 259 (quoting City of Chicago, 360 F.3d at 669).

       The Seventh Circuit has identified some exceptional circumstances that

 constitute privacy interests warranting pseudonymity, such as "when necessary to

 protect the privacy of children, rape victims, and other particularly vulnerable

 parties or witnesses," Blue Cross & Blue Shield United, 112 F.3d at 872, or when

 there is a "danger of retaliation," City of Chicago, 360 F.3d at 669. See also

 Dettelbach, 59 F.4th at 259 (citing Blue Cross & Blue Shield and Vill. of Deerfield);

 Vill. of Deerfield, 819 F.3d at 377 ("Further, a party's allegation of fear of retaliation

 'is often a compelling ground' in favor of anonymity. . . . For instance, we affirmed

 the use of fictious names where plaintiffs, minor children and their parents, had




                                             4
Case 1:23-cv-01006-SEB-MKK Document 23 Filed 10/20/23 Page 5 of 12 PageID #: 125




 legitimate fears of future retribution in a case involving religious freedom.")

 (citations omitted).

         Courts in this District have looked to a list of factors when considering

 whether exceptional circumstances exist, including, for example, the multi-factor

 analysis referenced by both Plaintiff, (Dkt. 5 at 3), and Defendant, (Dkt. 13 at 6) 2:

         (1) whether the plaintiff is challenging governmental activity; (2)
         whether the plaintiff would be required to disclose information of the
         utmost intimacy; (3) whether the plaintiff would be compelled to admit
         his or her intention to engage in illegal conduct, thereby risking
         criminal prosecution; (4) whether the plaintiff would risk suffering
         [physical or mental] injury if identified; [] (5) whether the party
         defending against a suit brought under a pseudonym would be
         prejudiced; [and (6) the public interest in guaranteeing open access to
         proceedings without denying litigants access to the justice system.]

 Doe v. Indiana Black Expo, Inc., 923 F. Supp. 137, 140 (S.D. Ind. 1996); see also Doe

 v. City of Indianapolis, No. 1:12-cv-00062-TWP-MJD, 2012 WL 639537, at *1 (S.D.

 Ind. Feb. 27, 2012) (adding sixth factor). Courts also consider whether a plaintiff's

 identity has been kept confidential leading up to the litigation. Doe v. Trustees of

 Ind. Univ., 577 F. Supp. 3d 896, 908 (S.D. Ind. 2022). Although all these factors may

 come into play in a court's decision, "it is the movant who ultimately 'bears the

 burden of proof to show that some combination of these factors outweighs the




 2 Defendant cites these factors as controlling, (Dkt. 13 at 6), but they are not. They are merely

 "helpful in balancing a plaintiff's interest in anonymity against the public's interest in disclosure."
 Doe v. Individual Members of Ind. State Bd. of L. Examiners, No. 1:09-cv-0842-WTL-TAB, 2009 WL
 2448468, at *1 (S.D. Ind. Aug. 8, 2009), objections overruled, No. 1:09-cv-842-WTL-JMS, 2010 WL
 106580 (S.D. Ind. Jan. 4, 2010); see also Doe v. Cook County, 542 F. Supp. 3d 779, 784 (N.D. Ill. 2021)
 ("The Seventh Circuit has not established a specific test for this inquiry, but courts consider
 numerous non-exhaustive factors to determine whether a movant may proceed under a
 pseudonym.").

                                                    5
Case 1:23-cv-01006-SEB-MKK Document 23 Filed 10/20/23 Page 6 of 12 PageID #: 126




 ordinary presumption of judicial openness.'" Id. at 902 (quoting Cook County, 542 F.

 Supp. 3d at 785)).

        Whether a litigant may proceed pseudonymously is entrusted to the

 discretion of the Court. Vill. of Deerfield, 819 F.3d at 376. This discretion comes

 with "an independent duty to determine whether exceptional circumstances justify

 such a departure from the normal method of proceeding in federal courts," even if

 the motion to proceed under a fictious name is not opposed. Blue Cross & Blue

 Shield United, 112 F.3d at 872; see also S.D. Ind. L.R. 10-1 (advisory committee

 comments) ("The court has an independent duty to determine whether the potential

 harm to a litigant exceeds the presumption that judicial proceedings are open to the

 public, such that the litigant should be permitted to proceed under a pseudonym.").

 III.   Discussion

        Plaintiff wishes to proceed under a pseudonym as he pursues his FRCA

 claims against Defendant because proceeding under his true name would defeat the

 purpose of his criminal expungement. Plaintiff contends Defendant improperly

 included his expunged felony conviction on a background report it prepared,

 violating the FRCA. Doing so linked him to a felony that, Plaintiff alleges, had

 "been expunged and wiped from public consciousness by operation of Indiana law."

 (Dkt. 5 at 4). If Plaintiff is required to proceed under his real name, he argues, his

 Complaint will "affix[] a bullhorn to the inaccurate reporting" of his expunged

 criminal record that "giv[es] rise to Plaintiff's claims under the FCRA." (Dkt. 16 at

 7). Defendant opposes, arguing "no 'exceptional circumstances' exist here" and "the



                                            6
Case 1:23-cv-01006-SEB-MKK Document 23 Filed 10/20/23 Page 7 of 12 PageID #: 127




 Seventh Circuit's six-factor test for evaluating such motions weighs strongly against

 Plaintiff." (Dkt. 13 at 2).

        Before delving into a factor-by-factor analysis, the Court notes that it finds

 Doe v. Village of Deerfield instructive. There, the Seventh Circuit considered the

 issue of whether an order denying leave to proceed anonymously was immediately

 appealable. 819 F.3d at 374. It answered in the affirmative and, in so doing, also

 addressed the merits of the plaintiff's request. Id. In that case, while pursuing equal

 protection and malicious prosecution claims, the plaintiff argued "that having to

 reveal his true identity would thwart the purpose of the expungement of his

 criminal records and would embarrass him." Id. at 375. The Seventh Circuit

 affirmed the district court, finding no abuse of discretion in its denial of the

 plaintiff's request. Id. at 377. On balance, "anonymity [wa]s not justified" even

 though "having to proceed under his true name would defeat the purpose of

 [Plaintiff's] criminal expungement" and result in "embarrassment." Id. The risk of

 embarrassment did not present "exceptional circumstances justifying use of a

 fictitious name in a civil suit he voluntarily filed." Id. (describing the district court's

 finding). The same is true here: Plaintiff has not met his burden to show exceptional

 circumstances warranting pseudonymity.

        Taken as a whole, the discretionary factors do not weigh in Plaintiff's favor.

 Plaintiff is not challenging government activity (Factor #1) and is not contemplating

 illegal conduct (Factor #3). (See Dkt. 5 at 3-4). And Plaintiff does not allege a

 specific risk of physical and mental harm (Factor #4). (Id.). As noted by other courts,



                                              7
Case 1:23-cv-01006-SEB-MKK Document 23 Filed 10/20/23 Page 8 of 12 PageID #: 128




 generalized risks of harm are insufficient grounds for anonymity. See, e.g.,

 Dettelbach, 59 F.4th at 259 ("we have refused to allow plaintiffs to proceed

 anonymously merely to avoid embarrassment") (citing Vill. of Deerfield); Cook

 County, 542 F. Supp. 3d at 787 ("The Court recognizes that victims of sexual assault

 often wish to keep their identities secret out of fear of embarrassment or social

 stigmatization. Those concerns alone, however, are insufficient to permit a plaintiff

 to proceed under a pseudonym. . . . However, if a movant shows that her specific

 circumstances demonstrate a risk of serious social stigmatization surpassing a

 general fear of embarrassment, courts may consider those circumstances in favor of

 granting the motion."). As to any potential burden that a pseudonymous proceeding

 might place on Defendant (Factor #5), (see Dkt. 13 at 9), such burden appears to be

 minimal, and the Court does not find this factor tips the scale in any significant

 way. The Court finds the sixth factor (i.e., access to proceedings) to be neutral, as

 neither side presented compelling arguments. 3

        So, the Court turns now to the second factor, which is most disputed: whether

 Plaintiff would be required to disclose information of the utmost intimacy. Plaintiff

 argues that this factor "weighs heavily in favor of permitting Plaintiff to proceed

 under pseudonym." (Dkt. 16 at 4) (emphasis removed). The Court disagrees and

 concludes that "information of the utmost intimacy" does not mean the type of

 records at issue here. See Vill. of Deerfield, 819 F.3d at 377 (affirming district

 court's ruling that publication of expunged criminal record was insufficient reason


 3 Defendant's bare footnote that a "Westlaw search for cases involving Section 1681e(b) of the FCRA

 reveals the abundance of" FCRA cases proceeding under real names, without more, counts for little.

                                                  8
Case 1:23-cv-01006-SEB-MKK Document 23 Filed 10/20/23 Page 9 of 12 PageID #: 129




 for pseudonym); Doe v. Bates, No. 3:18-cv-1250-SMY-RJD, 2018 WL 4539034, at *1

 (S.D. Ill. Sept. 21, 2018) (distinguishing Vill. of Deerfield and finding exceptional

 circumstances supported anonymity where revealing movant's identity "would, in

 effect, unravel the protections afford to his juvenile record, which [wa]s maintained

 in confidence" and "not just expunged, but ha[d] also been sealed because of strong

 policy considerations"). Relevant to this determination on intimacy is a

 consideration of whether the information at issue has been maintained confidential

 to date or already has been made public.

         Plaintiff's Complaint states that he "disclosed his expunged criminal record"

 to his potential employer. (Dkt. 1 at 9, ¶49). This disclosure was made before the

 allegedly inaccurate background report at the center of this lawsuit. Moreover,

 Plaintiff's Complaint acknowledges that "underlying public court records regarding

 the felony criminal record" are "widely available." (Id. at 11, ¶60). Indeed, records of

 Marion County felony convictions 4 – even expunged ones – can be obtained, in many

 instances, for free from a public access website. See mycase.IN.gov. Members of the

 public can conduct searches by case number or by party name. See id. Doing so in

 Plaintiff's case reveals the felony record which, to be sure, is marked as expunged.

 See Trustees of Indiana Univ., 577 F. Supp. 3d at 908 (using a Google search to

 "illustrat[e] how even Plaintiff has not fully attempted to keep his identity

 confidential when initiating this lawsuit").




 4 By inclusion of a cause number beginning with "49G20," (Dkt. 1 at 10), Plaintiff's Complaint

 indicates that his expunged felony conviction was filed in Marion County, Indiana.

                                                   9
Case 1:23-cv-01006-SEB-MKK Document 23 Filed 10/20/23 Page 10 of 12 PageID #: 130




        The accessibility of this information – and Plaintiff's voluntary disclosure of it

  to his prospective employer – weighs strongly against a conclusion that the

  information is of the "utmost intimacy" such that anonymity is required. Moreover,

  it strains Plaintiff's repeated declarations that "no publicly available information

  links him to the felony." (Dkt. 5 at 4). Indeed, a review of Indiana law reveals that

  offenses "expunged by operation of [Indiana] state law," (Dkt. 16 at 2), are not

  necessarily "wiped from public consciousness," as Plaintiff asserts, (Dkt. 5 at 4).

  Instead, the operation of Indiana's expungement statute only goes so far. See I.C. §

  35-38-9-1(h)(4) ("the court of appeals are not required to redact, destroy, or

  otherwise dispose of any existing copy of an opinion or memorandum decision that

  includes the petitioner's name" issued prior to expungement); I.C. § 35-38-9-7(b)

  ("court records and other public records relating to the arrest, conviction, or

  sentence of a person whose conviction records . . . have been marked as expunged

  remain public records.").

        With regards to the misattributed misdemeanor, the Court cannot conclude

  that this information is intimate to Plaintiff at all. The risk of embarrassment upon

  publication is not to Plaintiff, but to a third-party (about whom Plaintiff provides

  unnecessarily identifying information). Plaintiff can, and does, explain that

  inaccurate information as a case of mistaken identity.

        In sum, the second factor, whether the movant would be required to disclose

  information of the utmost intimacy, weighs against Plaintiff here. Plaintiff would

  not be forced to disclose that which is otherwise unavailable, and even if so, that



                                            10
Case 1:23-cv-01006-SEB-MKK Document 23 Filed 10/20/23 Page 11 of 12 PageID #: 131




  information is not "of the utmost intimacy." Plaintiff himself disclosed the expunged

  felony to his potential employer in advance of the background report. And the

  information is readily available to the public. Thus, Plaintiff has failed to meet his

  burden to show the "exceptional circumstances" required to proceed

  pseudonymously. Vill. of Deerfield, 819 F.3d at 377.

        In light of the above, the Court does not find "good cause" under Rule 26(c) for

  entry of a protective order at this time. Fed. R. Civ. P. 26(c). To the extent Plaintiff

  seeks to proceed with this litigation, he shall meet and confer with Defendant for

  the purposes of seeking entry of a joint protective order governing the exchange of

  confidential information in this action.

  IV.   Conclusion

        For the reasons stated, Plaintiff's Motion, Dkt. [4], is DENIED. To maintain

  his action against Defendant in federal court, Plaintiff may re-file the Complaint

  using his true name or dismiss this suit. Smith, 429 F.3d at 710. Alternatively,

  because the Seventh Circuit places orders denying plaintiffs leave to proceed under

  pseudonym within the collateral order doctrine, Vill. of Deerfield, 819 F.3d at 375-

  76, Plaintiff may raise his objection to the District Judge. See 28 U.S.C. § 636(b)(1);

  Fed. R. Civ. P. 72. Whatever option Plaintiff chooses, the choice must be made and

  completed within 14 days of this Order.

        The stay set by the Undersigned on Defendant's deadline to respond to

  Plaintiff's Complaint, (Dkt. 21), is hereby LIFTED. Defendant must file a response

  to Plaintiff's operative complaint within 21 days of this Order. Defendant's



                                             11
Case 1:23-cv-01006-SEB-MKK Document 23 Filed 10/20/23 Page 12 of 12 PageID #: 132




  response must correspond to how Plaintiff is identified in the caption of the

  operative complaint at the time Defendant's response is filed.

        So ORDERED.

        Date: 10/20/2023




  Distribution:

  All ECF-registered counsel of record via email




                                            12
